Case 2:03-cr-20454-SH|\/| Document 86 Filed 07/15/05 Page 1 of 2 Page|D 85

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IN THE UNITED sTATEs DISTRICT co_URT c_
FoR THE wEsTER.N DISTRICT oF TENNES&E3 -"

WESTERN DIVISION

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UNITED sTATEs oF AMERICA, “{)LLASM.GOLRD
Musr,_nwic_j ",,TOUM
vs. No. OM@A¥S'WZ§@'BS

JANELL CAGE ,

Defendant.

 

ORDER DENY ING MOTION

 

The defendant, Janell Cage, filed a document with the court
on July 12, 2005, entitled “Motion to Ammend [sic] Sentence.” Ms.
Cage is represented by counsel. She is not pro se. The court
finds that this motion is Without merit and should be denied and
instructs the defendant not to file any further documents pro se.
The court instructs the clerk not to accept any pro se filings
from this defendant.

It is so ORDERED this WKday of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:03-CR-20454 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

